        Case 1:06-cr-00323-LJO Document 122 Filed 07/24/08 Page 1 of 1


 1   ROGER K. LITMAN, 57634
     Attorney at Law
 2   Civic Center Square
     2300 Tulare Street, Suite 230
 3   Fresno, California 93721
     Telephone: (559) 237-6000
 4   Attorney for Defendant, ANDREA TAYLOR
 5
                      IN THE UNITED STATES DISTRICT COURT FOR THE
 6
                                EASTERN DISTRICT OF CALIFORNIA
 7
 8
     UNITED STATES OF AMERICA,   )                 CASE NO. 06-CR-00323 LJO
 9                               )
          Plaintiff,             )
10                               )                 STIPULATION TO EXTEND
     v.                          )                 REPORT TO CUSTODY DATE
11                               )
     ANDREA TAYLOR,              )
12                               )
          Defendant.             )
13   ____________________________)
14            The parties hereto, by and through their respective attorneys, and with the
15   specific knowledge and agreement of defendant Andrea Taylor, stipulate and agree
16   that the date for Ms. Taylor to surrender be extended from July 29, 2008 at 2:00
17   p.m. until August 19, 2008 at 2:00 p.m. Ms. Taylor is to either surrender at the
18   United States Marshall’s Office in the courthouse in Fresno or at the institution
19   designated by the Bureau of Prisons.
20
     DATED: July 23, 2008                   /s/ Laurel J. Montoya       __
21                                          LAUREL J. MONTOYA
                                            Assistant United States Attorney
22                                          This was agreed to by Ms. Montoya
                                            in person on July 23, 2008
23
     DATED: July 23, 2008            /s/ Roger K. Litman    __
24                                   ROGER K. LITMAN
                                     Attorney for Defendant
25                                   ANDREA TAYLOR
     GOOD CAUSE EXISTS FOR THE ADDITIONAL TIME.
26   IT IS SO ORDERED.
27   Dated:     July 24, 2008                  /s/ Lawrence J. O'Neill
     b9ed48                                UNITED STATES DISTRICT JUDGE
28

                                               1
